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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

JASON FYK
JASON FYK,
Plaintiff;
V.
FACEBOOK, INC.,
Defendant.

 

 

Case No. 4:18-cv-05159-JSW

PLAINTIFF’S NOTICE OF FILING
SUPPLEMENTAL AUTHORITY IN
FURTHER SUPPORT OF PLAINTIFF’S
MARCH 22, 2021, MOTION FOR RELIEF
PURSUANT TO FED.R.CIV.P 60(b) TO
VACATE AND SET ASIDE ENTRY OF
JUDGMENT [D.E. 46]

BEFORE: HON. JEFFREY S. WHITE
LOCATION: OAKLAND, CT. 5, FL. 2

PLAINTIFF’S NOTICE OF FILING SUPPLEMENTAL AUTHORITY, Case No.: 4:18-cv-05159-JSW

 

 
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Plaintiff, Jason Fyk, by and through undersigned counsel, files this Notice of Filing
Supplemental Authority in Further Support of Plaintiff's March 22, 2021, Motion for Relief Pursuant
to Fed.R.Civ.P. 60(b) to Vacate and Set Aside Entry of Judgment [D.E 46] (“Rule 60 Motion”).

1. On March 22, 2021, Plaintiff filed his Rule 60 Motion, which is currently fully briefed. Oral

argument is scheduled to take place (presumably virtually) on July 23, 2021. See [D.E. 46].

2. Plaintiff respectfully submits the following case law (which post-dated the March 22, 2021,

Rule 60 Motion and Plaintiffs April 12, 2021, Reply to Facebook’s April 5, 2021,
Response, see [D.E. 48]) as supplemental authority in further support of his pending Rule
60 Motion: Lemmon v. Snap, Inc., 995 F.3d 1085 (9th Cir. May 4, 2021), attached hereto
for the Court’s ease of reference.

Dated: June 4, 2021.
Respectfully Submitted,

/s/ Michael J. Smikun, Esq.
Michael J. Smikun, Esq.
Sean R. Callagy, Esq.
Jeffrey L. Greyber, Esq.
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Constance J. Yu, Esq.
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Counsel for Plaintiff

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on June 4, 2021, I electronically filed the foregoing documents with the
Clerk of the Court by using CM / ECF. | also certify that the foregoing document is being served this day

on all counsel of record via Notices of Electronic Filing generated by CM / ECF.

/s/ Michael J. Smikun
Michael J. Smikun, Esq.

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PLAINTIFF’S NOTICE OF FILING SUPPLEMENTAL AUTHORITY, Case No.: 4:18-cv-05159-JSW

 
Case 4:18-cv-05159-JSW Document 49
Lemmon v. Snap, Inc., 995 F.3d 1085 (2021)

21 Cal. Daily Op. Serv. 4203, 2021 Daily Journal D.A.R. 4358

995 F.3d 1085
United States Court of Appeals, Ninth Circuit.

Carly LEMMON; Michael Morby, as surviving
parents of Hunter Morby (deceased); Samantha
Brown; Marlo Brown, as surviving parents of
Landen Brown (deceased), Plaintiffs-Appellants, [2]
Vv.

SNAP, INC., doing business in California

as Snapchat, Inc., Defendant-Appellee.

No. 20-55295
|
Argued and Submitted February
11, 2021 San Francisco, California

Filed May 4, 2021 [3]

Synopsis

Background: Parents of motor vehicle passengers brought
wrongful death action against social media company, alleging
claim for negligent design based on vehicle occupants being
prompted by social media cell phone application's speed filter
to travel at high speeds and share that over social media,
which caused vehicle to run off the road and crash into tree.
The United States District Court for the Central District of

California, Michael W. Fitzgerald, J., 440 F.Supp.3d 1103,

dismissed the action. Parents appealed. [4]

[Holding:] The Court of Appeals, Wardlaw, Circuit Judge,
held that social media company was not entitled to immunity
under the Communications Decency Act (CDA), in negligent
design claim.

Reversed and remanded.

Procedural Posture(s): On Appeal; Motion to Dismiss for
Failure to State a Claim.

[5]
West Headnotes (12)

(1

Federal Courts ¢= Statutes, regulations, and
ordinances, questions concerning in general

Federal Courts «= Pleading

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The Court of Appeals reviews de novo both
the district court's order dismissing a complaint
for failure to state a claim and any questions
of statutory interpretation that informed that

decision.' Fed. R. Civ. P, 12(b)(6).

Federal Civil Procedure = Insufficiency in
general

A complaint will survive a motion to dismiss for
failure to state a claim if it states a plausible claim
for relief, that is, if it permits the reasonable
inference that the defendant is liable for the

misconduct alleged. : Fed. R. Civ. P. 12(b)(6).

Telecommunications «= Persons and entities
liable; immunity

Purpose of immunity granted to internet
providers under the Communications Decency
Act (CDA) is to promote the continued
development of the internet and other interactive

computer services. Communications Act of 1934

§230,. 47 U.S.C.A. § 230(6)(1).

Telecommunications <= Persons and entities
liable; immunity

A plaintiff enjoys immunity
Communications Decency Act (CDA) only
if it ts (1) a_ provider of an
interactive computer service (2) whom a plaintiff
seeks to treat, under a state law cause of

under the

or user

action, as a publisher or speaker (3) of
information provided by another information
content provider. Communications Act of 1934 §

230, 47 U.S.C.A. § 230(c)(1).

Telecommunications = Persons and entities
liable; immunity

Social media company was not entitled to
immunity under the Communications Decency
Act (CDA), in negligent design claim asserted
by parents of motor vehicle passengers who
died when vehicle crashed into tree after

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21 Gal. Daily Op. Serv. 4203, 2021 Daily Journal D.A.R. 4358

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Lemmon v. Snap, Inc., 995 F.3d 1085 (2021)

passengers and driver used company's social
media application's speed filter, which allegedly
prompted them to travel at high rates of speed;
claim did not treat company as “publisher or
speaker,” as it asserted that company negligently
designed the application with a defect that
encouraged dangerous driving, which did not
depend on company's publishing of third-party
content. Communications Act of 1934 § 230,

47 U.S.C.A. § 230(c)(1).

The immunity provision of the Communications
Decency Act (CDA) cuts off liability only
when a plaintiff's claim faults the defendant for
information provided by third parties on the
internet; thus, internet companies remain on the
hook when they create or develop their own
internet content. Communications Act of 1934 §

230,: 47 U.S.C.A. §§ 230(c)(1),  230(£)(3).

[10] Telecommunications = Persons and entities
liable; immunity
[6] Telecommunications “= Persons and entities The immunity provision of the Communications
liable; immunity Decency Act (CDA) was not meant to create a
“Publication,” as required for immunity under lawless no-man's-land on the internet; those who
the Communications Decency Act (CDA), use the internet continue to face the prospect
generally involves reviewing, editing, and of liability, even for their neutral tools, so long
deciding whether to publish or to withdraw from as plaintiff's claims do not blame them for the
publication third-party content on the internet. content that third parties generate with those
Communications Act of 1934 § 230, : 47 tools. Communications Act of 1934 § 230, 47
USS.C.A. § 230(c)(1). US.C.A. § 230(c)(1).
[7] Telecommunications <= Persons and entities [il] Federal Courts «> Theory and Grounds of
liable; immunity Decision of Lower Court
Regardless of the type of claim brought, a The Court of Appeals may affirm the district
court deciding whether immunity under the court's dismissal for failure to state a claim on
Communications Decency Act (CDA) focuses any ground supported by law. P"Fed. R. Civ. P.
on whether the duty the plaintiff alleges stems 12(b)(6)
from the defendant's status or conduct as a
publisher or speaker of content on the internet,
Communications Act of 1934 § 230, ) 47 [12] Federal Courts = In general; necessity
USiC 2 BPEUOM), The Court of Appeals will generally refrain from
deciding an issue on appeal that the district court
has not had the opportunity to evaluate.
[8] Products Liability ~~ Risk-utility test

Under California law, a negligent design
action asks whether a reasonable person would
conclude that the reasonably foreseeable harm of

*1087 Appeal from the United States District Court for the
Central District of California, Michael W. Fitzgerald, District
Judge, Presiding, D.C. No. 2:19-cv-04504-MWF-KS

a product, manufactured in accordance with its
design, outweighs the utility of the product.

o i Attorneys and Law Firms
[9] Telecommunications © Persons and entities
liable; immunity Naveen Ramachandrappa (argued), Bondurant Mixson &

Elmore LLP, Atlanta, Georgia, for Plaintiffs-Appellants.

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Lemmon v. Snap, Inc., 995 F.3d 1085 (2021)
21 Cal. Daily Op. Serv. 4203, 2021 Daily Journal D.A.R. 4358

Jonathan H. Blavin (argued) and Rosemarie T. Ring, Munger
Tolles & Olson LLP, San Francisco, California; John B. Major
and Anne K. Conley, Munger Tolles & Olson LLP, Los
Angeles, California; for Defendant-Appellee.

Before: Kim McLane Wardlaw and Carlos T. Bea, Circuit
Judges, and James David Cain, Jr., * District Judge.

OPINION
WARDLAW, Circuit Judge:

Carly Lemmon, Michael Morby, Samantha Brown, and
Marlo Brown (“the Parents”) are the surviving parents of
two boys who died in a tragic, high-speed car accident, They
sued Snap, Inc. (“Snap”), a social media provider, alleging
that it encouraged their sons to drive at dangerous speeds
and thus caused the boys’ deaths through its negligent design
of its smartphone application Snapchat. We must decide
whether the district court correctly dismissed that action when
it concluded that the Communications Decency Act (“CDA”)
barred the Parents’ claim because it sought to treat Snap
“as the publisher or speaker of any information provided by

another information content provider.”» 47 U.S.C. § 230(c)

(1).

We conclude that, because the Parents’ claim neither treats
Snap as a “publisher or speaker’ nor relies on “information
provided by another information content provider,” Snap

§ 230(c)

(1). We therefore reverse the district court's : Rule 12(b)
(6) dismissal of the Parents’ lawsuit and remand for further

does not enjoy immunity from this suit under >

proceedings.

1.

Because the district court dismissed this action pursuant to

' Federal Rule of Civil Procedure 12(b)(6), we accept as true
the allegations contained in the Parents’ amended complaint

and view them in the light most favorable to the Parents, :
*1088 Dyroffv. Ultimate Software Grp., Inc., 934 F.3d 1093,
1096 (9th Cir. 2019).

A.

According to the Parents’ amended complaint, Jason Davis
(age 17), Hunter Morby (age 17), and Landen Brown (age
20) were driving down Cranberry Road in Walworth County,
Wisconsin at around 7:00 p.m. on May 28, 2017. Jason sat
behind the wheel, Landen occupied the front passenger seat,
and Hunter rode in the back seat. At some point during their
drive, the boys’ car began to speed as fast as 123 MPH. They
sped along at these high speeds for several minutes, before
they eventually ran off the road at approximately 113 MPH
and crashed into a tree. Tragically, their car burst into flames,
and all three boys died.

Shortly before the crash, Landen opened Snapchat, a
smartphone application, to document how fast the boys were
going. Snapchat is a social media platform that allows its
users to take photos or videos (colloquially known as “snaps”)
and share them with other Snapchat users. To keep its users
engaged, Snapchat rewards them with “trophies, streaks, and
social recognitions” based on the snaps they send. Snapchat,
however, does not tell its users how to earn these various
achievements,

The app also permits its users to superimpose a “filter” over
the photos or videos that they capture through Snapchat at
the moment they take that photo or video. Landen used one
of these filters—the “Speed Filter’—minutes before the fatal
accident on May 28, 2017. The Speed Filter enables Snapchat
users to “record their real-life speed.” An example of the
digital content that a Snapchat user might create with this filter
is portrayed below,

*1089
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Lemmon vy. Snap, inc., 995 F.3d 1085 (2021)
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A Snapchat user could also “overlay” the above information
onto a mobile photo or video that they previously captured.

Many of Snapchat's users suspect, if not actually “believe,”
that Snapchat will reward them for “recording a 100-MPH or
faster [s]nap” using the Speed Filter. According to plaintiffs,
“[t]his is a game for Snap and many of its users” with the goal
being to reach 100 MPH, take a photo or video with the Speed
Filter, “and then share the 100-MPH-Snap on Snapchat.”

Snapchat allegedly knew or should have known, before
May 28, 2017, that its users believed that such a reward
system existed and that the Speed Filter was therefore
incentivizing young drivers to drive at dangerous speeds,
Indeed, the Parents allege that there had been: a series of news
articles about this phenomenon; an online petition that “called
on Snapchat to address its role in encouraging dangerous
speeding”; at least three accidents linked to Snapchat users’
pursuit of high-speed snaps; and at least one other lawsuit

 

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against Snap based on these practices. While Snapchat
warned its users against using the Speed Filter while driving,
these *1090 warnings allegedly proved ineffective. And,
despite all this, “Snap did not remove or restrict access to
Snapchat while traveling at dangerous speeds or otherwise
properly address the danger it created.”

B,

On May 23, 2019, Hunter's and Landen's parents filed this
negligent design lawsuit against Snap. Snap moved to dismiss
the Parents’ initial complaint for failure to state a claim under

Federal Rule of Civil Procedure 12(b)(6), contending that
the Parents had failed to allege a plausible negligence claim
and that the Communications Decency Act immunized it from
liability, The district court agreed and dismissed the Parents’
first complaint for failure to allege “a causal connection
between Defendant's Speed Filter and the car accident” and
because it was “not clear whether their claim is barred under
the [CDA].” However, it granted leave to amend so that the
Parents could cure these deficiencies.

On November 18, 2019, the Parents filed an amended
complaint, which Snap moved to dismiss on the same grounds
as before. This time, the district court granted the motion to

dismiss solely on the basis of immunity under 47 U.S.C.
§ 230(c)(1). Because it concluded that the CDA rendered
Snap immune from the Parents’ claim, it did not address
Snap's argument that the Parents had again failed to plead
causation adequately. The district court denied further leave
to amend, and entered a final judgment on February 25, 2020.
The Parents then filed this timely appeal,

Il.

Hy [2]

dismissing the Parents’ claim pursuant to Federal Rule
of Civil Procedure 12(b)(6) and any questions of statutory

interpretation that informed that decision. Dyroff. 934 F.3d
at 1096, The Parents’ amended complaint will survive at
this stage if it states “a plausible claim for relief,” i.e, if
it permits “the reasonable inference that the defendant is

Id, (citation omitted).
This standard requires determining whether the CDA bars

liable for the misconduct alleged.” |

» Governrrien! VWegrles ‘

We review de novo both the district court's order
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Lemmon v. Snap, Inc., 995 F.3d 1085 (2021)
21 Cal. Daily Op. Serv. 4203, 2021 Daily Journal D.A.R. 4358
the Parents’ claim as pleaded in the amended complaint. Sce

‘id.

II.

[3] In 1996, when the internet was young and few of
us understood how it would transform American society,

Congress passed the CDA. See: 47 U.S.C. § 230. That act
“provide[d] internet companies with immunity from certain
claims” in order “ ‘to promote the continued development
of the Internet and other interactive computer services.’ ”

‘ HomeAway.com, Inc. v. City of Santa Monica, 918 E.3d

676, 681 (9th Cir, 2019) (quoting: 47 U.S.C. § 230(b)(1)).
Specifically, Congress commanded that “[n]o provider or user
of an interactive computer service shall be treated as the
publisher or speaker of any information provided by another

information content provider.” ! © 47 U.S.C. § 230(c)(1);

see also’ id. § 230(e)(3) (explicitly preempting any state or
local law inconsistent with this section). Though somewhat
jJargony, this provision shields from *1091 liability those
individuals or entities that operate internet platforms, to the
extent their platforms publish third-party content.

[4] To determine whether : § 230(c)(1) applies here—and
thus immunizes Snap from the Parents’ claim—we apply

the three-prong test set forth in © Barnes v. Yahoo!, Inc.,
570 F.3d 1096 (9th Cir. 2009). Snap thus enjoys CDA
immunity only if it is “(1) a provider or user of an interactive
computer service (2) whom a plaintiff seeks to treat, under
a state law cause of action, as a publisher or speaker (3)
of information provided by another information content

provider.” © Dyroff, 934 F.3d at 1097 (quoting | Barnes,
570 F.3d at 1100-01), We examine each of these questions in
turn.

A.

The parties do not dispute that Snap is a provider of an
“interactive computer service,” and we agree that Snap

qualifies as one given the CDA's “expansive” definition of
that term. . Kimzey v. Yelp! Inc., 836 F.3d 1263, 1268

(9th Cir. 2016) (citation omitted); see also + Barnes, 570

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F.3d at 1101. According to the amended complaint, the
Snapchat application permits its users to share photos and
videos through Snap's servers and the internet. Snapchat thus
necessarily “enables computer access by multiple users to

a computer server,” > 47 U.S.C. § 230(f)(2), and Snap, as
the creator, owner, and operator of Snapchat, is therefore a

“provider” of an interactive computer service. fd. § 230(f)

(3).

[5] The second: Barnes question asks whether a cause of
action seeks to treat a defendant as a “publisher or speaker” of

third-party content. 2 Dyroff, 934 F.3d at 1097; Barnes,
570 F.3d at 1100. We conclude that here the answer is no,
because the Parents’ claim turns on Snap's design of Snapchat.

[6] [7] In this particular context, “publication” generally

“involve[s] reviewing, editing, and deciding whether to
publish or to withdraw from publication third-party content.”

HomeAway, 918 F.3d at 681 (citation omitted). A
defamation claim is perhaps the most obvious example of a
claim that seeks to treat a website or smartphone application
provider as a publisher or speaker, but it is by no means the

only type of claim that does so.’ Barnes, 570 F.3d at 1101-

02; see also’ Doe v. Internet Brands, Inc., 824 F.3d 846,
851 (9th Cir, 2016). Thus, regardless of the type of claim
brought, we focus on whether “the duty the plaintiff alleges”
stems “from the defendant's status or conduct as a publisher

or speaker.” : Barnes, 570 F.3d at 1107.

Here, the Parents seek to hold Snap liable for its allegedly
“unreasonable and negligent” design decisions regarding
Snapchat. They allege that Snap created: (1) Snapchat; (2)
Snapchat's Speed Filter; and (3) an incentive system within
Snapchat that encouraged its users to pursue certain unknown
achievements and rewards. The Speed Filter and the incentive
system then supposedly worked in tandem *1092 to entice
young Snapchat users to drive at speeds exceeding 100 MPH.

[8] The Parents thus allege a cause of action for negligent
design—a common products liability tort. This type of claim
rests on the premise that manufacturers have a “duty to
exercise due care in supplying products that do not present
an unreasonable risk of injury or harm to the public.” Lewis

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Bass, Prods. Liab.: Design & Mfg. Defects § 2.5 (2d ed., Sept.
2020 Update). Thus, a negligent design action asks whether
a reasonable person would conclude that “the reasonably

foreseeable harm” of a product, manufactured in accordance
with its design, “outweigh{s] the utility of the product.”

i Merrill v. Navegar, Inc., 26 Cal.4th 465, 110 Cal.Rptr.2d
370, 28 P.3d 116, 125 (2001) (citation omitted); see also

! Morden v. Cont'l AG, 235 Wis.2d 325, 611 N.W.2d 659,
674 (2000) (explaining that the relevant “duty of care requires
manufacturers to foresee all reasonable uses and misuses and
the consequent foreseeable dangers” of their products “and to

act accordingly” (citation omitted)). p

The duty underlying such a claim differs markedly from the
duties of publishers as defined in the CDA. Manufacturers
have a specific duty to refrain from designing a product that
poses an unreasonable risk of injury or harm to consumers.
See Dan B. Dobbs et al., Dobbs' Law of Torts § 478 (2d
ed., June 2020 Update), Meanwhile, entities acting solely as
publishers—i.e., those that “review[ ] material submitted for
publication, perhaps edit[ ] it for style or technical fluency,

and then decide[ ] whether to publish it,”! Barnes, 570 F.3d
at 1102—generally have no similar duty. See Dobbs’ Law of
Torts § 478.

It is thus apparent that the Parents’ amended complaint
does not seek to hold Snap liable for its conduct as a
publisher or speaker. Their negligent design lawsuit treats
Snap as a products manufacturer, accusing it of negligently
designing a product (Snapchat) with a defect (the interplay
between Snapchat's reward system and the Speed Filter).
Thus, the duty that Snap allegedly violated “springs from”

its distinct capacity as a product designer. | Barnes, 570
F.3d at 1107. This is further evidenced by the fact that
Snap could have satisfied its “alleged obligation’—to take
reasonable measures to design a product more useful than
it was foreseeably dangerous—without altering the content

that Snapchat's users generate. ‘ /nternet Brands, 824 F.3d
at 851. Snap's alleged duty in this case thus “has nothing to
do with” its editing, monitoring, or removing of the content

that its users generate through Snapchat.: Jd. at 852.

To the extent Snap maintains that CDA immunity is
appropriate because the Parents’ claim depends on the ability
of Snapchat's users to use Snapchat to communicate their

speed to others, it disregards our decision in ? Internet

Brands. That Snap allows its users to transmit user-generated
content to one another does not detract from the fact that
the Parents seek to hold Snap liable for its role in violating
its distinct duty to design a reasonably safe product. As in

Internet Brands, Snap “acted as the ‘publisher or speaker’
of user content by” transmitting Landen's snap, “and that
action could be described as a ‘but-for’ cause of [the boys’]

injuries.” + 824 F.3d at 853. This is unsurprising: Snap “is
an internet publishing business. Without *1093 publishing

user content, it would not exist.”! da. But though publishing
content is ‘a but-for cause of just about everything” Snap
is involved in, that does not mean that the Parents’ claim,
specifically, seeks to hold Snap responsible in its capacity as a

“publisher or speaker.” : /d. The duty to design a reasonably
safe product is fully independent of Snap's role in monitoring

or publishing third-party content. e

Because the Parents’ claim does not seek to hold Snap
responsible as a publisher or speaker, but merely “seek[s]
to hold Snapchat liable for its own conduct, principally for

the creation of the Speed Filter,” > § 230(c)(1) immunity is

unavailable.: Maynard v. Snapchat, Inc., 346 Ga.App. 131,
816 S.E.2d 77, 81 (2018) (emphasis added).

C,

CDA immunity is also unavailable in this case because
the Parents’ negligent design claim does not turn on
“information provided by another information content

provider.” Barnes, 570 F.3d at 1101,

[9] By its plain terms, and as the last part of the: Barnes

test recognizes, : § 230(c)(1) cuts off liability only when a
plaintiff's claim faults the defendant for information provided

by third parties. © 47 U.S.C. § 230(c)(1). Thus, internet
companies remain on the hook when they create or develop

their own internet content. See: Fair Hous. Council of San
fernando Valley v. Roommates.com, LLC, 521 F.3d 1157,
1162 (9th Cir. 2008) (en banc). And they also may face
liability to the extent they are “ ‘responsible ... in part, for
the creation or the development of? the offending content”

on the internet.:  /d. at 1162 (quoting: 47 U.S.C. § 230(f)

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(3)); see also Kimzey, 836 F.3d at 1269 (asking whether a
defendant “ma[de] a material contribution to the creation or
development of [the] content” underlying a given claim).

This case presents a clear example of a claim that simply
does not rest on third-party content. Snap indisputably
designed Snapchat's reward system and Speed Filter and
made those aspects of Snapchat available to users through

the internet. See | Roommates, 521 F.3d at 1168 (noting that
the word “develop” in the CDA connotes “making usable or
available”). And the Parents’ negligent design claim faults
Snap solely for Snapchat's architecture, contending that the
app's Speed Filter and reward system worked together to
encourage users to drive at dangerous speeds,

Notably, the Parents do not fault Snap in the least for
publishing Landen's snap. Indeed, their amended complaint
fully disclaims such a reading of their claim: “The danger
is not the Snap [message using the Speed Filter] itself.
Obviously, no one is harmed by the post. Rather, the danger is
the speeding.” AC { 14. While we need not accept conclusory
allegations contained in a complaint, we must nonetheless
read the complaint in the light most favorable to the Parents.

§

See:  Dyroff, 934 F.3d at 1096. And this statement reinforces
our own reading of the Parents’ negligent design claim as
standing independently of the content that Snapchat's users
create with the Speed Filter.

*1094 To sum up, even if Snap is acting as a publisher in
releasing Snapchat and its various features to the public, the

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Parents’ claim still rests on nothing more than Snap's “own

acts,” : Roommates, 521 F.3d at 1165, The Parents’ claim
thus is not predicated on “information provided by another

information content provider.” ! Barnes, 570 F.3d at 1101,

[10] Each of Snap's novel attempts to expand CDA immunity
beyond these straightforward principles is to no avail. To
start, while providing content-neutral tools does not render an
internet company a “creator or developer” of the downstream
content that its users produce with those tools, our case law
has never suggested that internet companies enjoy absolute
immunity from all claims related to their content-neutral

tools. See’ Dyroff, 934 F.3d at 1099; Kimzey, 836 F.3d at

1269-70; | Roommates, 521 F.3d at 1175. To the contrary,
“[t]he [CDA] was not meant to create a lawless no-man's-land

on the Internet.” Roommates, 521 F.3d at 1164. Those who

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use the internet thus continue to face the prospect of liability,
even for their “neutral tools,” so long as plaintiffs’ claims do
not blame them for the content that third parties generate with
those tools.

Next, the Parents’ allegations concerning the Speed Filter
and Snapchat's reward system are not a creative attempt to
plead around the CDA. In the cases where such creative
pleading has posed a concern, the plaintiffs claims, at
bottom, depended on a third party's content, without which

no liability could have existed. See Dyroff, 934 F.3d
at 1096 (alleging defendant developed content because its
website's “recommendation and notification functions were
‘specifically designed to make subjective, editorial decisions

about users based on their posts’ ”); Kimzey, 836 F.3d
at 1269 (alleging defendant developed content when it
integrated a third party's defamatory review “into its own
‘advertisement’ or ‘promotion’ on Google” using its “unique
star-rating system”). However, as already explained, the
Parents’ claim does not depend on what messages, if any, a
Snapchat user employing the Speed Filter actually sends. This
is thus not a case of creative pleading designed to circumvent
CDA immunity.

Last, Snap misunderstands the import of our statement in

Dyroff that a website's “tools meant to facilitate the
communication and content of others” were “not content in

and of themselves,” ' 934 F.3d at 1098. For even accepting
that statement at face value, it does nothing to advance Snap's
argument. It is by now clear that the Parents’ negligent design
claim does not turn on the content of Landen's particular snap.
Thus, if Snapchat's Speed Filter and award system were not
content for purposes of the CDA, then the Parents’ negligence
or negligent design claim would rest on no CDA “content”
whatsoever, and Snap would still receive no immunity. After
all, CDA immunity is available only to the extent a plaintiff's

claim implicates third-party content. See : 47 U.S.C. §

230(c)(1).

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In short, Snap “is being sued for the predictable consequences
of’ designing Snapchat in such a way that it allegedly

encourages dangerous behavior.’ Roommates, 521 F.3d at
1170. The CDA does not shield Snap from liability for such

claims. See: Internet Brands, 824 F.3d at 853 (“Congress
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has not provided an all purpose get-out-of-jail-free card for
businesses that publish user content on the internet, though
any claims might have a marginal chilling effect on internet
publishing businesses.”).

IV.

[11] Snap has also urged us to affirm the district court's
decision on the alternative *1095 ground that the Parents
have failed to plead adequately in their amended complaint
the causation element of their negligent design claim. Though
we may affirm on any ground supported by law, we decline

to exercise that discretion here for three reasons. ( Upper
Skagit Indian Tribe v. Lundgren, — US. , 138 S. Ct.
1649, 1654, 200 L.Ed.2d 931 (2018),

 

[12] First, the district court dismissed the Parents’ amended
complaint based “entirely on the CDAJ[,] and we refrain
from deciding an issue that the district court has not had the

opportunity to evaluate.” ! Roommates, 521 F.3d at 1175
n.40. Second, the district court stated when it dismissed the
Parents’ amended complaint that it would ordinarily have
granted leave to amend, but it declined to do so based on
its belief that the Parents could not surmount the issue of
CDA immunity. It thus appears the district court would have

granted further leave to amend if the sole defect in the
Parents’ amended complaint was a mere failure to plead legal
causation. Third, the district court has yet to decide whether
there exists a conflict between Wisconsin and California law
on the issue of legal causation. Nor has it decided, in the
event there is such a conflict, which state's law governs
that claim, See generally Cooper v. Tokyo Elec. Power Co.
Holdings, Inc., 960 F.3d 549, 559 (9th Cir. 2020) (laying
out the relevant analytic framework), cert. denied sub nom.
Cooper v. TEPCO, No. 20-730, —— U.S. ——, — S.Ct.
——, — L.Ed.2d , 2021 WL 1163742 (U.S. Mar. 29,
2021),

 

Vv.

For these reasons, we REVERSE the district court's dismissal
of the Parents’ amended complaint on the ground of immunity

under! 47U.S.C. § 230(c)(1) and REMAND this matter for
further proceedings consistent with this opinion.

All Citations

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Footnotes

The Honorable James David Cain, Jr., United States District Judge for the Western District of Louisiana,
sitting by designation.

The statute defines an “interactive computer service” as “any information service, system, or access software
provider that provides or enables computer access by multiple users to a computer server, including

specifically a service or system that provides access to the Internet ...."" 47 U.S.C. § 230(f)(2). Meanwhile,
an “information content provider’ is “any person or entity that is responsible, in whole or in part, for the creation

or development of information provided through the Internet or any other interactive computer service.” )  /d.
§ 230(f)(3).

The district court and the parties have, at various times, suggested that this aspect of the Barnes test is
undisputed. Having parsed the Parents’ arguments and citations before both our court and the district court,
we do not agree. Though those arguments could have benefited from greater analytic exposition, the Parents
have sufficiently preserved this issue for our review. In any event, it is within our discretion to reach this

issue. See ' In re Mercury Interactive Corp. Secs. Litig., 618 F.3d 988, 992 (9th Cir. 2010) (noting we may
exercise our discretion in this regard when “the issue presented is purely one of law and ... does not depend
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on the factual record developed below’ (citation omitted)). We exercise that discretion here, given that Snap
addressed this issue both in its answering brief and before the district court.

The parties have agreed that the tort law of either California or Wisconsin governs in this case. See generally
Restatement (Second) of Torts § 398 (1965) (“A manufacturer of a chattel made under a plan or design which
makes it dangerous for the uses for which it is manufactured is subject to liability to others whom he should
expect to use the chattel or to be endangered by its probable use for physical harm caused by his failure to
exercise reasonable care in the adoption of a safe plan or design.”).

Nor would proving causation through the snap that Landen sent shortly before his death implicate * § 230(c)
(1) immunity, because the Parents do not fault Snap for publishing that photo message. Instead, that snap
merely suggests, as circumstantial evidence, that the alleged negligent design of Snapchat had the very
causal effect that the Parents’ otherwise allege. By contrast, we note that the Parents would not be permitted

under | § 230(c)(1) to fault Snap for publishing other Snapchat-user content (e.g., snaps of friends speeding
dangerously) that may have incentivized the boys to engage in dangerous behavior. For attempting to hold
Snap liable using such evidence would treat Snap as a publisher of third-party content, contrary to our holding
here. See Section ILC. infra.

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